                   Case 6:12-cr-00018-JRH Document 1172 Filed 10/22/15 Page 1 of 1
                                                  ReductionPursuant
                                 Motionfor Sentence
AO 247 (Rev. 1l/11) OrderRegarding                               to 18U.S.C.S 3582(c)(2)             Pagelof2(Pag€2         Disclos$e)



                                    UNnBoSrarssDrsrRrcrCounr                                                           t,\ $lv.
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                                                                  for the
                                                                                                          2015
                                                                                                             Oci22 ,Pt13:
                                                      SouthemDistrictof Georgia
                                                         StatesboroDivision

                  United Statesof America
                               V.
                                                                        CaseNo:       6:12CR00018-24
                            AIi O\.vens
                      Gregory
                                                                        USM No:        17823-021
Dateof OriginalJudgment:       Novemberl9 2013
Dateof PreviousAmendedJudgrnent:                                        JamesR, Hodes
(UseDote of LastAmendedJudgmenti/ Any)                                  Defendant'sAttorhey


                ORDER REGARDING MOTION FOR SENTENCEREDUCTION
                         PIJRSUANTTO 18 U.S.C.$ 3s82(c)(2)
       Uponmotionof E the defendant I the Directorofthe BureauofPrisons I the courtunder18U.S.C.
$ 3582(cX2)for a reductionin the termof imprisonmentimposedbasedon a guidelinesentencing    rangethathas
iubsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing        Commission  pursuant to 28 U.S.C.
$ 994(u),andhavingconsidered   suchmotion,andtakinginto accountthe policystatement   setforth at USSG$1B1.10
andthe sentencing factorssetforth in 18U.S.C.$ 3553(a),to the extentthatthey areapplicable,
IT IS ORDEREDthatthemotionis:
                                                                                    1asrc|'lected
                                                                      of imprisonment
                                              previouslyimposedsentence
          tr DENIED. n GRANTEDandthedefendant's                                                in
the lastjudgmeatissued)of                  monthsis reducedto
                                          (Complete Puts I and II ofPage 2 vhen motioh is granted)




Exceptasotherwiseprovided,all provisionsofthejudgmentdated \9y9mqeg19-,2013shallremainin effect.
IT IS SO ORDERED.

Order Date:


                                                               DudleyH. Bowen,Jr,
EffectiveDate:        Noveqbjl1,.4!L. _                        United StatgsDistrict Judgg_,,
                   (if differentfrom order date)                                        Pintednqneandlili
